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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     TRAMELL TOWNSEND,                                   Case No. 2:20-cv-00527-APG-BNW
4                                             Plaintiff                    ORDER
5            v.
6     ROBERT BANNISTER et al.,
7                                        Defendants
8
9    I.     DISCUSSION

10          According to the Nevada Department of Corrections (“NDOC”) inmate database,

11   Plaintiff is no longer incarcerated. However, Plaintiff has not filed an updated address

12   with this Court. The Court notes that pursuant to Nevada Local Rule of Practice IA 3-1,

13   a “pro se party must immediately file with the court written notification of any change of

14   mailing address, email address, telephone number, or facsimile number. The notification

15   must include proof of service on each opposing party or the party’s attorney. Failure to

16   comply with this rule may result in the dismissal of the action, entry of default judgment,

17   or other sanctions as deemed appropriate by the court.” Nev. Loc. R. IA 3-1. This Court

18   grants Plaintiff thirty (30) days from the date of entry of this order to file his updated

19   address with this Court. If Plaintiff does not update the Court with his current address

20   within thirty (30) days from the date of entry of this order, this case will be subject to

21   dismissal without prejudice.

22          Additionally, the Court denies the application to proceed in forma pauperis for

23   prisoners (ECF No. 1) as moot because Plaintiff is no longer incarcerated. The Court

24   now directs Plaintiff to file an application to proceed in forma pauperis by a non-prisoner

25   within thirty (30) days from the date of this order or pay the full filing fee of $400.1

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28          1  Because Plaintiff initiated this case prior to December 1, 2020, the full filing fee
     for a civil action is $400.
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1    II.    CONCLUSION
2           For the foregoing reasons, IT IS ORDERED that Plaintiff will file his updated
3    address with the Court within thirty (30) days from the date of this order.
4           IT IS FURTHER ORDERED that Plaintiff’s application to proceed in forma pauperis
5    for prisoners (ECF No. 1) is DENIED as moot.
6           IT IS FURTHER ORDERED that the Clerk of the Court WILL SEND Plaintiff the
7    approved form application to proceed in forma pauperis by a non-prisoner, as well as the
8    document entitled information and instructions for filing an in forma pauperis application.
9           IT IS FURTHER ORDERED that within thirty (30) days from the date of this order,
10   Plaintiff will either: (1) file a fully complete application to proceed in forma pauperis for
11   non-prisoners; or (2) pay the full filing fee of $400.
12          IT IS FURTHER ORDERED that, if Plaintiff fails to timely comply with this order,
13   this case will be subject to dismissal without prejudice.
14          DATED THIS 11th day of January 2021.
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16                                               UNITED STATES MAGISTRATE JUDGE
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